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                     Exhibit 3
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U.1981.72/2H                                                                       Toldvæsenet har heroverfor anført, at god tro med hensyn til fejl
                                                                                 i momsregnskabet ikke fritager for betaling af et tilsvar. Vedrørende
                                                                                 forældelsesfristens begyndelsestidspunkt har toldvæsenet gjort
H. D. 19. december 1980 i sag I 367/1979                                         gældende, at fristen må løbe fra det tidspunkt, da fejlen blev opdaget
                                                                                 i 1977, idet toldvæsenet ikke tidligere har set rekvisiti regnskaber
Direktoratet for Toldvæsenet (km.adv. v/ adv. Skov Knudsen)                      og derfor ikke kunne være blevet opmærksom på kravet.
mod
gårdejer, statsautoriseret ejendomsmægler Thorkild Bjerregaard                   Fogedretten skal udtale:
(hrs. Strøjer, e.o.).                                                            Uanset rekvisiti gode tro med hensyn til fejlene i momsregnskabet
                                                                                 for landbrugsvirksomheden findes han i medfør af momslovens §
Afgifter 5 - Pengevæsen m.v. 58.3.                                               34 pligtig at tilsvare toldvæsenet det unddragne beløb. Da
Urigtigt fradragne beløb i momsregnskab medførte ikke,                           toldvæsenet først under en ekstraordinær revision af rekvisiti
at forældelsen ansås for udsat efter 1908-lovens § 3.                            regnskaber i 1977, hvorved bemærkes, at toldvæsenet normalt ikke
                                                                                 reviderer momsregistreredes regnskaber, blev opmærksom på de
                                                                                 pågældende fejl i regnskabet og altså først fra dette tidspunkt blev
  ♦ De efter momsloven afgiftspligtige angiver til toldvæsenet
                                                                                 i stand til at kræve sit momstilsvar betalt, findes en forældelsesfrist
    tilsvaret af merværdiafgift som differencen mellem et samlet
                                                                                 vedrørende momstilsvaret først at kunne regnes fra dette tidspunkt,
    tal for afgift af salg og for afgift af køb. Ved et kontroleftersyn
                                                                                 hvorfor ingen del af kravet er forældet.
    i marts 1978 hos en gårdejer, der tillige var statsaut.
    ejendomsmægler, hvilken sidste virksomhed efter de
                                                                                 Vestre Landsret
    dagældende regler ikke var underkastet merværdiafgift,                       Vestre Landsrets dom 15. juni 1979 (4. afd.)
    konstateredes det, at der i afgiften bl.a. for halvåret 1. august            (Gjesingfelt, Rørdam og Hans Bendsen (kst.))
    1972-31. januar 1973, som forfaldt den 1. juli 1973, var                       ben indankede kendelse er afsagt den 22. februar 1979 af retten i
    fradraget et beløb, som vedrørte ejendomsmæglervirksomheden.                 Grindsted.
    Udlæg foretoges i december 1978. Kravet på afgift af det                       For landsretten har appellanten, gårdejer, statsaut. ejendomsmægler
    urigtigt fradragne beløb ansås forældet, idet forældelsen ikke               Thorkild Bjerregaard, gentaget sin i første instans nedlagte påstand
    ansås udsat i medfør af 1908-lovens § 3 (dissens). 1                         om, at forretningen nægtes fremme, medens indstævnte, Vejle
Byretten                                                                         Distriktstoldkammer, har påstået kendelsen stadfæstet.
                                                                                   Parterne har begge gentaget deres procedure for fogedretten.
73
                                                                                   Det er oplyst, at toldvæsenet først i februar-marts 1978 opdagede
Grindsted fogedrets kendelse 22. februar 1979.                                   fejlen i appellantens regnskaber. Det er endvidere oplyst, at de
Under en af Vejle Distriktstoldkammer hos gårdejer Thorkild                      lokale toldmyndigheder efter instruks fra tolddepartementet
Bjerregaard, Givskud, Jelling, den 18. december 1978 foretagen                   tilstræber hvert 5. år at indkalde og gennemse de momsregistrerede
udlægsforretning, hvorunder der for et momstilsvar på 8.357,00                   virksomheders regnskaber for de forudgående 5 år, men at der
kr. incl. renter blev foretaget udlæg i 1 stk. stereoanlæg, 1 stk. radio         undertiden går længere tid mellem disse eftersyn.
og to højttalere samt i ejendommen matr. nr. 3-a og 18-e Givskud                   Da toldmyndighederne har haft mulighed for at konstatere de ved
by og sogn, protesterede rekvisitus mod forretningens fremme, idet               regnskabsaflæggelsen for året 1. august 1972 til 31. juli 1973
han gjorde gældende, at han ikke skyldte beløbet, subsidiært at en               begåede fejl inden den 18. december 1973, findes
del af det, fra regnskabsåret sluttet 31.7.1973, var forældet.                   efterbetalingskravet for dette regnskabsår at være forældet, uden
  Sagen er herefter i medfør af § 6 i lov om fremgangsmåden ved                  at det kan tillægges betydning, at toldmyndighederne af
inddrivelse af skatter og afgifter m.v. indbragt for fogedretten.                administrative grunde har tilrettelagt sin sagsbehandling på en sådan
  Det fremgår af sagen, at rekvisitus driver momsregistreret                     måde, at man først i 1978 rent faktisk fik kendskab til de forhold,
landbrugsvirksomhed               samt          ikke      registreret            hvorpå kravet støttes. Det tiltrædes derimod, at indstævnte ikke i
ejendomsmæglervirksomhed. I perioden 1. august 1972 til 31.                      øvrigt er afskåret fra at gøre afgiftskravet gældende, og med den
januar 1973 har rekvisitus i landbrugsvirksomhedens regnskab som                 af det anførte følgende ændring stadfæster landsretten herefter
indgående afgift medregnet 7.626,00 kr., der vedrører                            kendelsen.
annonceudgifter i ejendomsmæglervirksomheden, hvilket er i strid                   Ingen af parterne betaler sagsomkostninger for landsretten til den
med merværdiafgiftslovens § 16, stk. 1. Toldvæsenet blev                         anden part.
opmærksom på fejlen under en revision af rekvisiti regnskaber i                  Højesteret
1977.
  Rekvisitus har til støtte for sine indsigelser nærmere gjort                   Højesterets dom.
gældende, at han var i god tro med hensyn til fradragene for de af               Den i denne sag af Vestre Landsret afsagte dom er med
efteropkrævningen omhandlede annonceudgifter. Fradragene var                     Justitsministeriets tilladelse indanket for Højesteret.
sket efter gammel praksis og i fuld åbenhed, hvorefter han ikke nu                I pådømmelsen har deltaget fem dommere: Urne, Torben Jensen,
kan være pligtig at betale tilsvaret. Om sin subsidiære påstand har              Bangert, Munch og Kiil.
han anført, at i hvert fald en del af kravet må være forældet efter               For Højesteret har appellanten principalt påstået
den almindelige 5-årige forældelsesregel.
                                                                                    74



  1 Jfr. U.1935.715 H (TfR 1936.359), U.1963.377 H (U1963B.246), U.1968.240 H og U.1972.985 H (U1973B.173) samt Bastholm og Rugh: Momsloven
    s. 217, Ussing: Obligationsret, alm. del, 4. udg. s. 408, Gomard: Obligationsretten i en nøddeskal, 3, s. 382 ff, Tliøger Nielsen: Indkomstbeskatning I s.
    130 ff, Bjørn, Hulgaard og Michelsen: Lærebog om indkomstskat, 3. udg., s. 605 f, Hartvig Jacobsen: Skatteretten s. 354 ff, Hinze: Skatteprocessen, 4.
    udg. s. 202, Lauesen i U1980B.109 ff og 1961/62 A sp. 1372.
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stadfæstelse af fogedrettens kendelse. Subsidiært påstås landsrettens
dom stadfæstet med den ændring, at kun afgiftstilsvaret for perioden
1. august 1972 til 31. januar 1973, i alt 481 kr. 38 øre, anses
forældet.
 Indstævnte har påstået frifindelse over for appellantens principale
påstand, men har taget bekræftende til genmæle over for den
subsidiære påstand.
 Der er således enighed mellem parterne om, at ingen del af kravet
for afgiftsperioder fra og med den 1. februar 1973 kan anses
forældet, idet krav for disse perioder tidligst forfaldt til betaling
den 1. januar 1974, jfr. § 28, stk. 3, i loven om almindelig
omsætningsafgift, og en eventuelt løbende forældelse blev afbrudt
ved udlæggets foretagelse den 18. december 1978.

Tre dommere - Torben Jensen, Bangert og Kiil udtaler:
Efter loven om almindelig omsætningsafgift berigtiges afgiften på
grundlag af virksomhedens summariske angivelse af størrelsen af
udgående og indgående afgift i den pågældende afgiftsperiode, og
krav om betaling af yderligere afgift som følge af fejl i angivelserne
vil normalt forudsætte, at der af toldvæsenet foretages kontrol af
det til grund for angivelserne liggende regnskabsmateriale, der efter
lovens § 19 kun skal opbevares i 5 år efter regnskabsårets udgang.
Med denne bemærkning og i øvrigt i henhold til de i dommen
anførte grunde tiltrædes det, at begyndelsestidspunktet for
forældelse af toldvæsenets krav ikke i medfør af forældelsesloven
af 1908 § 3 har været udsat, indtil toldvæsenet blev klar over fejlen.
Herefter er den del af kravet, som vedrører afgiftsperioden fra 1.
august 1972 til 31. januar 1973, i alt 481 kr. 38 øre, forældet. Disse
dommere stemmer herefter for at tage appellantens subsidiære
påstand til følge. De stemmer endvidere for at ophæve sagens
omkostninger for Højesteret, hvorved bemærkes, at indstævnte
også for Højesteret har haft fri proces.

Dommerne Urne og Munch udtaler:
Det er ubestridt, at afgiftsmyndighederne ikke før
virksomhedskontrollen den 10. marts 1978 blev bekendt med, at
der forelå et afgiftstilsvar som følge af, at indstævnte fejlagtigt
havde opgivet indgående afgift for højt for perioden 1. august 1972
til 31. januar 1973. Toldvæsenet havde ikke grund til at formode,
at angivelsen var urigtig. Idet der ikke er fastsat regler, der pålægger
toldvæsenet inden for visse frister at foretage virksomhedskontrol,
finder disse dommere, at uvidenheden om kravet har været
toldvæsenet utilregnelig, jfr. 1908-lovens § 3. De stemmer derfor
for at stadfæste fogedrettens kendelse.
  Der vil være at give dom efter stemmeflertallet.
Thi kendes for ret:
Landsrenens dom bør ved magt at stande, dog at kun afgiftstilsvaret
for perioden fra 1. august 1972 til 31. januar 1973, stort 481 kr.
38 øre, anses forældet.
 Ingen af parterne betaler sagsomkostninger for Højesteret til den
anden part eller til statskassen. 2




  2      Salær til den for indstævnte beskikkede advokat 4.000 kr.
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